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                         UMTED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                       :      Honorable Steven C. Mannion

       v.                                      :      Mag. No. 16-6083 (SCM)

LISA POPEWINY, ANGEL D. VIDAL,
ANGEL GABRIEL VIDAL,
and MIGUEL VIDAL                               :      SEALING ORDER


       This matter having come before the Court upon the application of the United States of

America, by Paul J. Fishman, United States Attorney for the District of New Jersey (Can Fais,

Assistant U.S. Attorney, appearing), for an. order sealing the Complaint and related papers in this

matter, and for good cause shown,

       IT IS on this 31st day of May, 2016,

       ORDERED that the Complaint in this matter and all related papers, with the exception of

the arrest warrants and copies thereof, be filed under seal, and they are hereby sealed until the

arrests of the individuals named in the warrants or until further order of this Court.




                                                      HONORzE STEVEN C. MANNION
                                                      UNITED STATES MAGISTRATE JUDGE
